AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case F [ L FE Boost

UNITED STATES DISTRICT CourT | FE 13 2023

SOUTHERN DISTRICT OF CALIFORNIA CLERK, U.S. DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA JUDGMENT IN A CREMINAL CASE, \o___9ePuty
Vv. (For Offenses Committed On or After November i 1987)
MICHAEL LADRE DUNBAR (1)

Case Number: 3:20-CR-01700-TWR

MICHAEL LADRE DUNBAR, PRO SE

Defendant’s Attorney

USM Number 93173-298

CT] -
THE DEFENDANT:
L] pleaded guilty to count(s) -

was found guilty on count(s) 1-2 of the Indictment
after a plea of not guilty.

Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

Title and Section / Nature of Offense

Count
18:1591(a); 18:1594, 2428 - Sex Trafficking Of Children; Criminal Forfeiture ]
18:2423(a); 18:1594, 2428 - Transportation Of A Minor; Criminal Forfeiture 2
The defendant is sentenced as provided in pages 2 through 6 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
L] The defendant has been found not guilty on count(s)
L] Counts) is dismissed on the motion of the United States.

[X] Assessment: $200.00 ($100.00 as to each count) imposed

Pursuant to the motion of the United States under 18 USC 3573, the special assessment provided for under 18 USC 3013 is
waived and remitted as uncollectible.

JVTA Assessment*: $ 5,000.00 waived
The Court finds the defendant indigent

*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22,

No fine C] Forfeiture pursuant to order filed , included herein.
IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this

judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

February 9, 2023

Date of Imposition of Sentence

“769? CSbirse—

HON. TODD W. ROBINSON
UNITED STATES DISTRICT JUDGE

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IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
235 months as to count 1-2 to run concurrent for a total of 235 months

Sentence imposed pursuant to Title 8 USC Section 1326(b).
The court makes the following recommendations to the Bureau of Prisons:

1. Designation to a facility in the south western region, FCI Phoenix if bedspace is available, to
accommodate family visits.

KO

The defendant is remanded to the custody of the United States Marshal.

LJ] The defendant must surrender to the United States Marshal for this district:
L] at A.M, on

QO as notified by the United States Marshal.

Oo The defendant must surrender for service of sentence at the institution designated by the Bureau of
Prisons:

O_ onor before
[] as notified by the United States Marshal.
L1 as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:

Defendant delivered on to

at , with a certified copy of this judgment.

UNITED STATES MARSHAL

By DEPUTY UNITED STATES MARSHAL

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SUPERVISED RELEASE
Upon release from imprisonment, the defendant will be on supervised release for a term of:
10 years as to count 1-2 to run concurrent for a total of 10 years

MANDATORY CONDITIONS

1. The defendant must not commit another federal, state or local crime.

2. ‘The defendant must not unlawfully possess a controlled substance.

3. The defendant must not illegally possess a controlled subsiance. The defendant must refrain from any unlawful use of a
controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.

_]The above drug testing condition is suspended, based on the court's determination that the defendant poses a low
risk of future substance abuse. (check if applicable)

4. [The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
a sentence of restitution. (check if applicable)

XI The defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

6. The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. (check if
applicable)

7. (The defendant must participate in an approved program for domestic violence. (check if applicable)

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.

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STANDARD CONDITIONS OF SUPERVISION

As part of the defendant’s supervised release, the defendant must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for the defendant’s behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the
court about, and bring about improvements in the defendant’s conduct and condition.

1, The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
office or within a different time frame.

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer

about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
as instructed.

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
getting permission from the court or the probation officer.

4. The defendant must answer truthfully the questions asked by their probation officer.

5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to

unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
expected change.

6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must

permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
view.

7. The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
change or expected change,

8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant
knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without
first getting the permission of the probation officer.

9. Ifthe defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.

10. The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon ({i.c.,

anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
as nunchakus or tasers).

11. The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.

12. If the probation officer determines the defendant poses a risk to another person (including an organization}, the probation
officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
The probation officer may contact the person and confirm that the defendant notified the person about the risk.

13. The defendant must follow the instructions of the probation officer related to the conditions of supervision.

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SPECTAL CONDITIONS OF SUPERVISION

1. Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as directed
by the probation officer. Allow for reciprocal release of information between the probation officer and the
treatment provider. May be required to contribute to the costs of services rendered in an amount to be
determined by the probation officer, based on ability to pay.

2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

3. Submit your person, property, residence, abode, vehicle, papers, computer, social media accounts, any other
electronic communications or data storage devices or media, and effects to search at any time, with or without a
warrant, by any law enforcement or probation officer with reasonable suspicion concerning a violation of a
condition of probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the
officer’s duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3). Failure to submit to a search may be grounds for

revocation; you must warn any other residents that the premises may be subject to searches pursuant to this
condition.

4, Consent to third party disclosure to any employer, potential employer, concerning any restrictions that are
imposed by the court.

5. Not use or possess any computer, computer-related devices (pursuant to 18 U.S.C. §1030(e)(1)), which are
capable of accessing, storing, or transmitting visual depictions of “sexually explicit conduct” involving children
as defined by 18 USC § 2256(2) and/or "actual sexually explicit conduct" involving adults as defined by 18
USC §2257(h)(1), without prior approval by the court or probation officer, all of which are subject to search and
seizure. Such devices include, but are not limited to smart phones, smart watches, video game consoles, digital
tablets, I-pods, and not excluding anything else that has the capability of doing so in the future and can
communicate data via modem, dedicated connections or cellular networks, and their peripheral equipment.

The offender must consent to installation of monitoring software and/or hardware on any computer or
computer-related devices owned or controlled by the offender that will enable the probation officer to monitor
all computer use and cellular data. The offender must pay for the cost of installation of the computer software.

6, Not associate with, or have any contact with, any known sex offenders unless in an approved treatment
and/or counseling setting.

7. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material,

or through any third-party communication, with the victim or victim’s family, without prior approval! of the
probation officer.

8. Not initiate any contact (personal, electronic or otherwise) or associate with anyone under the age of 18,
unless in the presence of a supervising adult who is aware of the offender's deviant sexual behavior and nature
of offense and conviction, with the exception of the offender's biological children, unless approved in advance
by the probation officer.

9. Not accept or commence employment or volunteer activity without prior approval of the probation officer,
and employment should be subject to continuous review and assessment by the probation officer.

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10, Not loiter within 200 yards of a school, schoolyard, playground, park, amusement center/park, public
swimming pool, arcade, daycare center, carnival, recreation venue, library and other places primarily frequented
by persons under the age of 18, without prior approval of the probation officer.

11, Complete a sex offender evaluation, which may include periodic psychological, physiological testing, and
completion of a visual reaction time (VRT) assessment, at the direction of the court or probation officer. If
deemed necessary by the treatment provider, the offender shall participate and successfully complete an
approved state certified sex offender treatment program, including compliance with treatment requirements of
the program. The Court authorizes the release of the presentence report, and available psychological evaluations
to the treatment provider, as approved by the probation officer. The offender will allow reciprocal release of
information between the probation officer and the treatment provider. The offender may also be required to
contribute to the costs of services rendered in an amount to be determined by the probation officer, based on
ability to pay. Polygraph examinations may be used following completion of the formal treatment program as
directed by the probation officer in order to monitor adherence to the goals and objectives of treatment and as a
part of the containment model.

12. Reside in a residence approved in advance by the probation officer, and any changes in residence shall be
pre-approved by the probation officer.

13, Must not associate with any person who you know, or who a probation officer or other law enforcement
officer informs you is a Skyline Piru criminal street gang member or any other known criminal street gang
member or known participant in a criminal street gang, unless given permission by the probation officer.

14. Must not wear, display, use or possess any insignias, photographs, emblems, badges, buttons, caps, hats,
jackets, shoes, flags, scarves, bandanas, shirts or other articles of clothing that are known to represent criminal
street gang affiliation, association with or membership i in the Skyline Piru criminal street gang or any other
criminal street gang, unless given permission by the probation officer.

15. Must not knowingly loiter, or be present in locations known to be areas where gang members congregate,
unless given permission by the probation officer.

16. Must not display any known gang signs or gestures.

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